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P'ai"""' ) cR. No. 05-20285-0
)
vs. )
)
MAvaN wlLsoN, )
)
Defendant. )

MOT|ON TO UNSEAL lNDICTMENT
The United States of America hereby requests that the Court unseal the indictment
in this matter. At the Government's request, the Court sealed this document to permit the
Govemment to execute the arrest warrant on the defendant The arrest warrant has been
executed, and there is no longer any need to seal the lndictment.

DATED: August 22, 2005. Respectfu|ty submitted,

 

 

Joseph C. Murphy\‘
Assistant U.S. Attorney

MOT|ON GRANTED
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BERNICE BOU|E DONALD
U.S. DISTR|CT JUDGE

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Notice of Distribution

This notice confirms a copy of the document docketed as number 6 in
case 2:05-CR-20285 Was distributed by faX, mail, or direct printing on
August 23, 2005 to the parties listed.

 

 

Joseph C Murphy

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

Memphis7 TN 38103

Honorable Bernice Donald
US DISTRICT COURT

